            Case 3:19-cv-00108-SDD-RLB            Document 8      04/04/19 Page 1 of 16




                               UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF LOUISIANA

ELLIS RAY HICKS                                     :        CIVIL ACTION

                                                    :        NO. 19-108-SDD-RLB
VERSUS
                                                    :        JUDGE SHELLY D. DICK

LOUISIANA DEPARTMENT OF                :      MAGISTRATE JUDGE
PUBLIC SAFETY AND CORRECTIONS,                RICHARD L. BOURGEOIS, JR
JAMES LEBLANC, AND TERRY LAWSON
******************************************************************************
         ANSWER AND AFFIRMATIVE DEFENSES WITH JURY DEMAND

           NOW INTO COURT, through undersigned counsel, come defendants, the State of

Louisiana through the Department of Public Safety & Corrections, Secretary James M. Leblanc,

and Terry Lawson, who, in answering Plaintiff’s Complaint,1 deny each and every allegation

asserted against them therein, except those that may be hereinafter admitted, and further

respectfully respond as follows:

                                    AFFIRMATIVE DEFENSES

FIRST DEFENSE - FAILURE TO STATE A CLAIM

           Plaintiff has failed to state a claim upon which relief can be granted because there are

insufficient factual allegations indicating that defendants violated any of Plaintiff’s rights under

applicable federal and state laws.

SECOND DEFENSE – QUALIFIED IMMUNITY

           Defendants LeBlanc, Hooper, and Milligan are entitled to qualified immunity, as they acted

objectively reasonable under the law at all times.



1
    R. Doc. 1-2.

                                                   1
        Case 3:19-cv-00108-SDD-RLB               Document 8        04/04/19 Page 2 of 16



THIRD DEFENSE – DISCRETIONARY IMMUNITY

       Defendants LeBlanc and Griffin are entitled to immunity pursuant to Louisiana Revised

Statute §9:1278.1.

FOURTH DEFENSE - VICARIOUS LIABILITY (STATE LAW)

       Defendants LeBlanc and Hooper are not liable for the actions of other DPS&C employees,

as they are not the “employer” of DPS&C employees under the meaning of Louisiana law.

FIFTH DEFENSE – DENIAL OF OTHER RELIEF

       Plaintiff is not entitled to any of the relief that he seeks in his Petition.

SIXTH DEFENSE- ATTORNEYS’ FEES

       Plaintiff is not entitled to recover for attorneys’ fees or costs associated with this litigation.

SEVENTH DEFENSE- MITIGATION OF DAMAGES

       Plaintiff has failed to use reasonable care and diligence in an effort to minimize or avoid

the damages allegedly incurred.

EIGHTH DEFENSE - COMPARATIVE FAULT

       If defendant is found to have violated the plaintiff’s rights and is not entitled to the defense

of qualified or discretionary immunity, then the plaintiff, through intentional and negligent acts

and failure to act as a reasonable person, contributed to his own injuries or damages.

NINTH DEFENSE – PRESCRIPTION

       Plaintiff is not entitled to relief for any claims occurring over than one year prior to the

filing of the Complaint.

TENTH DEFENSE - STANDING (OTHER PRISONERS)

       Plaintiff lacks standing to seek relief insofar as he asserts claims for other individuals

incarcerated by DPS&C.


                                                   2
         Case 3:19-cv-00108-SDD-RLB              Document 8        04/04/19 Page 3 of 16



ELEVENTH DEFENSE – STANDING (INJUNCTIVE RELIEF)

        Plaintiff lacks standing to recover any injunctive relief, as he has not suffered or will not

suffer an “injury in fact.”

TWELFTH DEFENSE - FAILURE TO EXHAUST

        Plaintiff has failed to exhaust administrative remedies as to some or all of the claims

asserted in his complaint, as required by state and federal law.

THIRTEENTH DEFENSE - STATUTORY LIMITATIONS OF LIABILITY

        Defendants specifically plead the statutory limitations of liability contained in Louisiana

Revised Statute §13:5106, and §13:5112, as well as any other statutory or jurisprudential limitation

of liability, cost and/or interest available to them under law.

FOURTEENTH DEFENSE – LEGAL CAPACITY OF DP&C

        Plaintiff has failed to state claim against DPS&C under 42 U.S.C. §1983 because a state

or state agency is not a “person” under the meaning of §1983.

                                             ANSWER

        AND NOW, in answer to the Complaint of Ellis Ray Hicks, the appearing defendants deny

each and every allegation therein except as hereafter expressly admitted and further respectfully

respond as follows:

                                                  1.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.




                                                  2.

                                                  3
         Case 3:19-cv-00108-SDD-RLB             Document 8       04/04/19 Page 4 of 16



        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 3.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 4.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal

conclusion and thus require no answer at this time. If such an answer is required, however,

defendants deny any liability.

                                                 5.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 6.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 7.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 8.


                                                 4
         Case 3:19-cv-00108-SDD-RLB             Document 8       04/04/19 Page 5 of 16



       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 9.

       The allegation contained in this paragraph are denied as written.


                                                10.

       This paragraph merely states plaintiff intention to bring a lawsuit against the defendants,

and thus requires no answer. If such an answer is required, however, defendants deny any liability.

                                                11.

       The paragraph requires no answer, as it merely states the name of a party to this suit. If

such an answer is required, however, defendants deny any liability.

                                                12.

       The paragraph requires no answer, as it merely states the name of a party to this suit. If

such an answer is required, however, defendants deny any liability.

                                                13.

       The paragraph requires no answer, as it merely states the name of a party to this suit. If

such an answer is required, however, defendants deny any liability.

                                                14.

       The paragraph requires no answer, as it merely states the name of a party to this suit. If

such an answer is required, however, defendants deny any liability.

                                                15.

       The paragraph requires no answer, as it merely states the name of a party to this suit. If

such an answer is required, however, defendants deny any liability.

                                                16.
                                                 5
          Case 3:19-cv-00108-SDD-RLB             Document 8      04/04/19 Page 6 of 16



       This paragraph merely contains a statement of jurisdiction, and thus requires no answer.

                                                 17.

       This paragraph merely states that venue is proper in this Court, and thus requires no

answer.

                                                 18.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 19.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 20.

          The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 21.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 22.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 23.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 24.



                                                  6
         Case 3:19-cv-00108-SDD-RLB             Document 8       04/04/19 Page 7 of 16



       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                25.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                26.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                27.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                28.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                29.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                30.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                31.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.



                                                 7
         Case 3:19-cv-00108-SDD-RLB             Document 8       04/04/19 Page 8 of 16



                                                32.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                33.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                34.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                35.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                36.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                37.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                38.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                39.




                                                 8
         Case 3:19-cv-00108-SDD-RLB             Document 8       04/04/19 Page 9 of 16



       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                40.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                41.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                42.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                43.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                44.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                45.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                46.

       The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.



                                                 9
          Case 3:19-cv-00108-SDD-RLB            Document 8       04/04/19 Page 10 of 16



                                                 47.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 48.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied as written.

                                                 49.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied as written.

                                                 50.

        This paragraph is a mere statement of plaintiff’s intent to file suit, and thus requires no

answer.

                                                 51.

        This paragraph merely asserts that the plaintiff shall list various causes of action, and thus

requires no answer. To the extent that an answer is required, defendants assert that the plaintiff has

failed to articulate a viable cause of action against the defendants.

                                                 52.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 53.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 54.




                                                  10
        Case 3:19-cv-00108-SDD-RLB             Document 8       04/04/19 Page 11 of 16



        The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 55.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 56.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 57.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 58.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 59.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 60.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 61.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.



                                                 11
        Case 3:19-cv-00108-SDD-RLB             Document 8       04/04/19 Page 12 of 16




                                                 62.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 63.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 64.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 65.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 66.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 67.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied for lack of

sufficient information on the part of defendants to assert otherwise at this time.

                                                 68.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 69.



                                                 12
        Case 3:19-cv-00108-SDD-RLB             Document 8       04/04/19 Page 13 of 16



        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 70.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 71.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 72.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 73.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 74.

        The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 75.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 76.

          The allegations contained in this paragraph of Plaintiff’s Complaint are denied.

                                                 77.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.



                                                 13
        Case 3:19-cv-00108-SDD-RLB              Document 8       04/04/19 Page 14 of 16



                                                 78.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 79.

        The allegations contained in this paragraph of Plaintiff’s Complaint state a legal conclusion

and thus require no answer at this time. If such an answer is required, however, defendants deny

any liability.

                                                 80.

        The paragraph merely states that the plaintiff requests a trial by jury, and therefor

requires no response.

                                                 81.

        This paragraph merely lists a variety of damages against the defendants, and therefor

requires no response. If such an answer is required, however, defendants deny any liability.

                                                 82.

        This paragraph merely contains a request for relief, and therefor requires no response.

                                                 83.

        The allegations contained in this paragraph of Plaintiff’s Complaint are a mere statement

of law, and thus require no answer at this time. If such an answer is required, however, defendants

deny any liability.

                                                 84.

        This paragraph merely states that a demand has been made on the defendants, and thus

requires no answer.



                                                 14
        Case 3:19-cv-00108-SDD-RLB             Document 8       04/04/19 Page 15 of 16



                                                 85.

       The last paragraph contains a prayer for relief and does not require an answer. To the extent

an answer is required, the Prayer for Relief is denied.

                                 IN FURTHER ANSWERING:

                                                 86.

       Defendants specifically deny any and all relief prayed for by the plaintiff.

                                                 87.

       Defendants are entitled to and request a trial by jury on all triable issues.

       WHEREFORE, defendants the State of Louisiana through the Department of Public

Safety & Corrections, Secretary James M. Leblanc, and Terry Lawson, respectfully request that,

after due proceedings are had, including trial by jury, that judgment be rendered in their favor,

dismissing Plaintiff’s Complaint with prejudice, at his sole cost.

                                                       Respectfully submitted,

                                                       JEFF LANDRY
                                                       ATTORNEY GENERAL

                                              BY:        /s/ Jeffery A. “Beau” Wheeler, II_______
                                                       Jeffery A. “Beau” Wheeler, II (#37546)
                                                       Assistant Attorney General
                                                       Louisiana Department of Justice
                                                       Litigation Division, Civil Rights Section
                                                       1885 North Third Street, 4th Floor
                                                       Post Office Box 94005
                                                       Baton Rouge, Louisiana (70804-9005)
                                                       Telephone:       225-326-6300
                                                       Facsimile:       225-326-6495
                                                       E-mail:          WheelerJ@ag.louisiana.gov
                                                       Attorney for Defendants




                                                 15
        Case 3:19-cv-00108-SDD-RLB              Document 8       04/04/19 Page 16 of 16



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this, the 4th day of March, 2019, the above entitled pleading

was filed electronically with the Clerk of Court by using the CM/ECF system. Notice of this filing

will be sent to all parties who participate in electronic filing by operation of the court’s electronic

filing system.


       Ellis Hicks, through his attorney of record:
       William Most (Bar#36914)
       201 St. Charles Ave. Suite 114 #101
       New Orleans, Louisiana 70170
       PHONE (504) 509-5023
       williammost@gmail.com



                                   /s/Jeffery A. “Beau” Wheeler, II
                               Jeffery A. “Beau” Wheeler II, #37546
                                     Assistant Attorney General




                                                  16
